          Case 3:14-cr-00282-SI        Document 52      Filed 03/25/15   Page 1 of 5



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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


UNITED STATES OF AMERICA                                        Case No. 3:14-CR-00282-KI-2

               v.                                          GOVERNMENT=S SENTENCING
                                                                     MEMORANDUM
KYLE KEOKI YAMAGUCHI,
                                                                 Sentencing: March 31, 2015,
                       Defendant.                                              at 10:30 a.m.



       The United States of America, by S. Amanda Marshall, United States Attorney for the

District of Oregon, and through Assistant United States Attorney Ryan W. Bounds, hereby

submits this memorandum setting forth the government=s position on sentencing. This matter is

scheduled for sentencing on March 31, 2015.

       The government reviewed the draft Presentence Investigation Report (PSR) and submitted

no objections or requests for additions or deletions.

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          Case 3:14-cr-00282-SI       Document 52       Filed 03/25/15    Page 2 of 5




I.     CRIME OF CONVICTION

       On December 17, 2014, pursuant to a plea agreement with the government, defendant Kyle

Keoki Yamaguchi pled guilty to Count 1 of the Indictment in this case, which charged him with

Conspiracy to Transport, Receive, and Sell Stolen Goods in violation of 18 U.S.C. §§ 371,

2314-15. Defendant also admitted the forfeiture allegation and agreed to forfeit $50,000 as

proceeds of his illegal activity by way of a money judgment.1 Upon his sentencing pursuant to the

parties’ agreement, the government will move to dismiss Count 4 of the Indictment (charging

defendant with the substantive offense of transporting stolen goods in interstate commerce).

       As described in the Indictment and PSR, defendant is a former employee of Nike, Inc. He

conspired with TUNG WING HO, his successor as a promotional product manager in Nike’s

basketball division, to procure unauthorized and fraudulent orders of rare Nike basketball shoes

from Nike’s manufacturing partners in China and to purloin and to sell those shoes after they

arrived at Nike’s Worldwide Headquarters in Beaverton, Oregon. Defendant served as the

intermediary between HO and other individuals who sold the stolen shoes directly to collectors.

       Over the course of the conspiracy, spanning from mid-2012 through the spring of 2014,

defendant and HO sold approximately 733 pairs of stolen shoes for a total profit of more than

$763,000. The vast majority of their sales were to just one buyer: their co-conspirator JASON

MICHAEL KEATING, a dealer operating out of Ft. Myers, Florida. Because the shoes in

question were produced in very limited runs and never for sale, they commanded prices from

basketball-shoe collectors—so-called “sneakerheads”—that were typically 5 to 15 times the retail

prices for comparable Nike shoes. Defendant himself pocketed nearly $200,000 in profits from


1
  Defendant anticipatorily satisfied the money judgment with the delivery of a cashier’s check in
the amount of $50,000 to the United States Secret Service on January 15, 2015.

Government=s Sentencing Memorandum                                                        Page 2
          Case 3:14-cr-00282-SI                   Document 52             Filed 03/25/15            Page 3 of 5




this scheme, while HO realized nearly $600,000. (The government has not determined how much

KEATING ultimately made from his direct sales of the shoes to collectors.)

II.    GUIDELINES APPLICATION AND SENTENCING RECOMMENDATION

       Base Offense Level (USSG § 2B1.1(a)(2), (b)(1)(H)) ..............................20
       Adjustment for Acceptance of Responsibility (§ 3E1.1) ........................... -3
       Total Offense Level ...................................................................................17
       Defendant’s Criminal History ..................................................... .I (0 points)
       The foregoing Guideline calculation yields an advisory sentencing range of 24 to 30

months. In light of defendant’s prompt acceptance of responsibility for the full scope of the

scheme, his extraordinary assistance with the ensuing investigation, his payment of restitution, and

his forfeiture of his ill-gotten gains, however, the government recommends that the Court vary

downward from the Guideline range by the equivalent of nine levels and impose a sentence of five

years’ probation. A nine-level variance would place defendant in Zone A on the Sentencing Table

and would not require imposition of home confinement or other alternatives to incarceration under

USSG § 5C1.1.

       The government recognizes that a request for a downward variance of this magnitude is

unusual and that the victim of the offense, Nike, Inc., will advocate for a sentence of

imprisonment.2 The abuse of trust and the scale of both the theft and unjust enrichment that this

scheme entailed surely justify a presumption of incarceration, but defendant’s relatively limited

role in the offense and his conduct following its discovery militate against such a resolution in his

particular case.



2
  Nike has advised the government through counsel that it intends to address the Court at
sentencing. As the victim of this theft offense, Nike has “[t]he right to be reasonably heard at any
public proceeding in the district court involving . . . sentencing.” 18 U.S.C. § 3771(a)(4).

Government=s Sentencing Memorandum                                                                                 Page 3
           Case 3:14-cr-00282-SI         Document 52        Filed 03/25/15      Page 4 of 5




         With respect to defendant’s role in the offense, it is clear that he was far less actively

involved than HO. Defendant neither fraudulently ordered the shoes from Nike’s factories nor

stole them from Nike’s campus. (He did nevertheless use knowledge he had gained as a Nike

employee to facilitate the scheme of which those criminal acts were an essential part.) Defendant

also took a much smaller share of the illegal proceeds than HO, who made three times as much

while simultaneously taking home a hefty salary from Nike.

         Defendant was also much quicker to accept responsibility and to cooperate in the

investigation than either HO or KEATING.3 As soon as he realized the scheme had come to light,

defendant quickly took a series of affirmative steps to disclose his culpability and to make things

right: He provided both a comprehensive narrative and impressively detailed records of his illegal

transactions; he filed amended tax returns and paid income taxes on his illicit proceeds; he returned

the misappropriated Nike shoes in his possession; and he assisted in the gathering of additional

evidence pertinent to resolving the case. He also readily agreed to full restitution as well as the

forfeiture of proceeds he no longer had. Following his guilty plea, defendant even addressed a

group of Portland middle-school students about how he became involved in the criminal

conspiracy and about his experience with the criminal justice system. He spoke compellingly and

accessibly to the two dozen seventh- and eighth- graders about the ruinous temptation of easy

money and the importance of accepting responsibility for one’s bad acts. After his presentation,

he expressed a desire to take his message to other groups.

         Defendants often seek reduced sentences in light of their post-offense rehabilitation. It is

not unusual in our district for defendants to receive such consideration. What is unusual—indeed,

unique in the undersigned prosecutor’s experience—is the degree of rehabilitation and unqualified

3
    The trial of HO and KEATING is currently scheduled for April 21, 2015.

Government=s Sentencing Memorandum                                                              Page 4
          Case 3:14-cr-00282-SI        Document 52       Filed 03/25/15      Page 5 of 5




remorse demonstrated by defendant in this case. Defendant has never been implicated in any

other criminal conduct and poses no meaningful risk of recidivism. A nine-level downward

variance and a sentence of probation are warranted to reflect “the history and characteristics of the

defendant” and “to promote respect for the law,” which values cooperation with law enforcement

and acceptance of responsibility even as it seeks to deter and punish crime. 18 U.S.C.

§ 3553(a)(1), (a)(2)(A).

III.   CONCLUSION

       For the reasons set forth above and in keeping with the parties’ plea agreement, the

government recommends that defendant be sentenced to five years’ probation under the standard

conditions of supervision.

       DATED this 25th day of March 2015.

                                              Respectfully submitted,

                                              S. AMANDA MARSHALL
                                              United States Attorney

                                              /s/   Ryan Wesley Bounds
                                              RYAN W. BOUNDS, OSB #00012
                                              Assistant United States Attorney




Government=s Sentencing Memorandum                                                           Page 5
